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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ----------------------------------------------------------------X
  ALLSTATE INSURANCE COMPANY,
  ALLSTATE FIRE AND CASUALTY INSURANCE COMPANY,
  ALLSTATE INDEMNITY COMPANY,
  ALLSTATE NEW JERSEY INSURANCE COMPANY,
  ALLSTATE PROPERTY AND CASUALTY INSURANCE COMPANY,
                                          Plaintiffs,

                 -against-                                            REPORT AND
                                                                      RECOMMENDATION
                                                                      16-CV-1465-AMD-SJB
  DMITREI ABRAMOV,
  BORIS KHANIS,
  INNA LYUBRONETSKAYA,
  OLEG SHNAIDER,
  EMPIRE STATE MEDICAL SUPPLIES, INC.,
  LIBERTY SURGICAL SUPPLIES INC.,
  PACIFIC SURGICAL SUPPLY, INC.,
  QUALITY MEDICAL SUPPLY INC.,
  RIDGE MEDICAL SUPPLIES CORP.,
  MARGARITA AKMALOVA,
  GRIGOL APRESYANTSI,
  SERGEY MEZKULA,
  VALERIY SEMENIKHIN,
  VADIM ZALOGIN,
  AMERICAN MOBILITY MEDICAL, INC.,
  BIV WHOLESALE INC.,
  COMDEX INC.,
  GLOBAL BEST DEAL, INC.,
  GRIGOL SUPPLY, INC.,
  IG&NAT SERVICES, INC.,
  IMPREZZA NYC INC.,
  METRA WHOLESALE INC.,
  ORTIZ OMEGA CORP.,
  VDS MEDICAL SUPPLY, INC.,
  VZ GROUP, INC.,
                                          Defendants.
  ----------------------------------------------------------------X
  BULSARA, United States Magistrate Judge:

         Plaintiffs Allstate Insurance Company, Allstate Fire and Casualty Insurance

  Company, Allstate Indemnity Company, Allstate New Jersey Insurance Company, and

  Allstate Property and Casualty Insurance Company (collectively “Allstate”) commenced
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  this action on March 25, 2016 alleging violations of the Racketeer Influenced and

  Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1961, § 1962(c), and § 1964(c); and

  common law fraud and unjust enrichment under New York common law. (Compl. dated

  Mar. 25, 2016, Dkt. No. 1). Allstate filed an Amended Complaint on May 9, 2016,

  maintaining the same causes of action and adding additional Defendants. (Am. Compl.

  dated May 9, 2016, Dkt. No. 5 (“Am. Compl.”)). Of the 88 Defendants in the Amended

  Complaint, 25 did not appear and the Clerk of Court entered a default against them.

  (Clerk’s Entries of Default, Dkt. Nos. 187-193, 195-201, 209-213, 294-296, 307-310

  (“Entries of Default”)).1 On May 22, 2018, Allstate filed a motion for default judgment,

  (Mot. for Default J., Dkt. No. 322 (“Allstate Mot.”)), which the Honorable Ann M.

  Donnelly referred to the undersigned for report and recommendation. For the reasons

  described below, the Court respectfully recommends that the motion be denied without

  prejudice to renewal due to defects in service.

                 FACTUAL BACKGROUND AND PROCEDURAL HISTORY

         Allstate Plaintiffs are Illinois corporations that provide automobile insurance

  coverage within the State of New York. (Am. Compl. ¶¶ 49-54). Defendants are

  corporations and their owners alleged to be involved in a series of complex parallel

  schemes intended to defraud Allstate through New York’s No-fault insurance system.

  (Id. ¶ 1).2 Allstate alleges “that Defendants stole from [it] through the submission of


         1The 25 does not include three additional Defendants against whom default was
  entered but who later settled with Allstate. (See Clerk’s Entries of Default, Dkt. Nos.
  194, 202, 293). Allstate dismissed the claims against these Defendants, (see Stipulations
  of Dismissal, Dkt. Nos. 284, 318), and the Clerk should be directed to vacate the default
  against them.

         This system requires Allstate to pay for “health service expenses that are
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  reasonably incurred as a result of injuries suffered by occupants of their insured motor


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  thousands of false and/or fraudulent insurance claims for durable medical equipment

  (‘DME’) and/or orthotic devices.” (Id. ¶ 2).3 Defendants billed Allstate for medical

  equipment that was “never provided, not provided as billed or, if provided, [was] of

  inferior quality relative to what was represented in the bills submitted to [Allstate] to

  have been provided and/or [was] otherwise medically unnecessary.” (Id. ¶ 23).

         The Amended Complaint alleges that Defendants operated at least 38 schemes

  that were used to defraud Allstate. Each purported scheme involved a Retailer(s) of

  medical equipment and Retail Owner(s), a Wholesaler(s) of medical equipment and

  Wholesale Owner(s), and a medical clinic(s) that billed Allstate for medical services

  performed under the New York No-fault system.4 Defendants can be categorized into

  four groups based on their roles in these schemes: (1) retail corporations (“Retailers”);5

  (2) owners of retail corporations (“Retail Owners”);6 (3) wholesale corporations




  vehicles and pedestrians that arise from the use or operation of such motor vehicles in
  the State of New York.” (Am. Compl. ¶ 162).

         3 “Durable medical equipment” refers to medical supplies prescribed to patients
  for at-home use, such as cervical pillows, circulating pumps, infrared heat lamps,
  massagers, and whirlpools. (Id. ¶ 2). “Orthotic devices” refers to medical devices that
  “are used to support a weak or deformed body member or to restrict or eliminate
  movement,” such as braces or cervical collars. (Id.). For the sake of simplicity, the
  Court generally refers to both of these as “medical equipment.”

         4   The medical clinics are not parties in this action.
         5The defaulting Retailers are Empire State Medical Supplies, Inc. (“Empire State
  Medical”), Liberty Surgical Supplies Inc. (“Liberty Surgical”), Pacific Surgical Supply,
  Inc. (“Pacific Surgical”), Quality Medical Supply Inc. (“Quality Medical”), and Ridge
  Medical Supplies Corp. (“Ridge Medical”).

         The defaulting Retail Owners are Dmitrei Abramov (“Abramov”), Boris Khanis
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  (“Khanis”), Inna Lyubronetskaya (“Lyubronetskaya”), and Oleg Shnaider (“Shanider”).



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  (“Wholesalers”);7 and (4) owners of wholesale corporations (“Wholesale Owners”).8 The

  schemes generally operated as follows: medical clinics would prescribe patients with

  large amounts of unnecessary medical equipment, which Retailers would provide to

  patients. (Id. ¶ 5). Retailers, through their Owners, would contact Wholesalers, who

  would issue invoices for medical equipment they never actually provided (or sell

  Retailers inexpensive equipment and provide them with invoices grossly inflating the

  prices). (Id. ¶ 6). Retailers would then issue checks to Wholesalers according to the

  inflated invoice amount, and Wholesalers would cash the checks and return a portion of

  the money to Retailers, who would then give a portion to the medical clinics as a

  kickback. (Id. ¶¶ 7-8). Retailers would then bill Allstate according to the inflated

  invoices. (Id. ¶ 9).

         Although these schemes were generally parallel rather than intertwined,9 Allstate

  alleges they were so similar that they must trace back to a common origin. (See Am.

  Compl. ¶¶ 185-186; see also id. ¶ 14 (“Defendants collectively utilized a common

  fraudulent blueprint as a business plan, sharing common documentation, using the


         7 The defaulting Wholesalers are American Mobility Medical, Inc. (“American
  Mobility”), BIV Wholesale Inc. (“BIV Wholesale”), Comdex Inc. (“Comdex”), Global Best
  Deal, Inc. (“Global Best Deal”), Grigol Supply, Inc. (“Grigol Supply”), IG&NAT Services,
  Inc. (“IG&NAT Services), Imprezza NYC Inc. (“Imprezza”), Metra Wholesale Inc.
  (“Metra Wholesale”), Ortiz Omega Corp. (“Ortiz Omega”), VDS Medical Supply, Inc.
  (“VDS Medical”), and VZ Group, Inc. (“VZ Group”).

         The defaulting Wholesale Owners are Margarita Akmalova (“Akmalova”), Grigol
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  Apresyantsi (“Apresyantsi”), Sergey Mezkula (“Mezkula”), Valeriy Semenikhin
  (“Semenikhin”), and Vadim Zalogin (“Zalogin”).

         9 A few of the schemes do involve overlapping parties. In relevant part, VZ Group
  and its owner, Zalogin, are alleged to be involved in two different RICO schemes. (See
  Am. Compl. ¶¶ 395, 958). The same is true for BIV Wholesale, (see id. ¶¶ 432, 721), and
  Comdex, (see id. ¶¶ 906, 921).



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  same fraudulent billing codes, making the same misrepresentations, and engaging in

  virtually identical patterns of fraud that was not the product of happenstance, but

  instead evidence of related fraudulent billing schemes that trace back to a common

  genesis and framework.”)).

         Allstate’s Amended Complaint alleges violations of RICO as well as fraud and

  unjust enrichment under New York law, (id. ¶ 45), and seeks damages in excess of

  $980,000, in addition to treble damages and prejudgment interest for the RICO

  violations. (Id. at 401). The Amended Complaint also seeks a Declaratory Judgment

  under 28 U.S.C. § 2201 against Retailers and Retail Owners relieving Allstate of the

  “obligation to pay the pending, previously-denied and/or submitted unpaid claims . . .

  regardless of the purported dates of service.” (Id. ¶¶ 1622-1629).

         Allstate served the Corporate Defendants with the Summons and Amended

  Complaint through New York’s Secretary of State and the Individual Defendants at their

  places of business, by affixing the documents to the door and also mailing them. (See

  Summonses Returned Executed, Dkt. Nos. 18, 20-21, 25-26, 28-29, 31, 35, 40-41, 48-49,

  57, 59, 90, 92-98).10 The 25 Defendants subject to the motion for default judgment

  failed to appear or otherwise respond to the Complaint, and the Clerk of Court entered

  default as to each one on various dates ranging from September of 2016 to January of

  2018. (See Entries of Default).11 All other Defendants have settled. (Mem. of Law,

  attached as Ex. 3 to Allstate Mot., Dkt. No. 322 (“Allstate Mem.”) at 4).


         10There are two exceptions: Individual Defendants Shnaider and Zalogin were
  served personally outside the state of New York. (Summonses Returned Executed, Dkt.
  Nos. 75, 78).
         11The Clerk of Court entered default against Semenikhin twice, (Clerk’s Entries of
  Default, Dkt. Nos. 200, 212), but this is of no practical consequence.


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        Allstate filed a motion for default judgment on May 22, 2018. (See Allstate Mot.).

  The motion seeks specific monetary damages as to each defaulting Defendant, with

  members of each scheme jointly and severally liable for RICO damages. (Proposed

  Judgment, attached as Ex. 1 to Decl. of James McKenney (“McKenney Decl.”), Dkt. No.

  322 (“Proposed J.”) at 2-5). The motion also seeks the same declaratory judgment as

  requested in the Complaint, but only against the Retailers. (See id. at 5). The motion

  and supporting papers were mailed to Corporate and Individual Defendants at their last

  known addresses. (Aff. of Service, attached as Ex. 7 to Allstate Mot., Dkt. No. 322 (“Mot.

  Service Aff.”)). Allstate subsequently filed eight declarations stating the motion papers

  were returned undeliverable as to Defendants Lyubronetskaya, Mezkula, Apresyantsi,

  Empire State Medical, Ortiz Omega, Global Best Deal, Imprezza, and Grigol Supply.

  (Declarations of Mailing, Dkt. Nos. 323-330).

        On May 23, 2018, the Honorable Ann M. Donnelly referred the motion to the

  undersigned for report and recommendation. For the reasons stated below, the Court

  respectfully recommends the motion be denied without prejudice.

                                        DISCUSSION

        “[A] motion for default judgment will not be granted unless the party making that

  motion adheres to certain local and individual rules.” Bhagwat v. Queens Carpet Mall,

  Inc., No. 14-CV-5474, 2015 WL 13738456, at *1 (E.D.N.Y. Nov. 13, 2015). Service of the

  motion on non-appearing defendants is of particular importance, because “mailing

  notice of such an application is conducive to both fairness and efficiency[.]” Committee

  Note, Loc. Civ. R. 55.2; see Transatlantic Auto Grp., Inc. v. Unitrans-Pra Co., No. 08-

  CV-5070, 2011 WL 4543877, at *20 (E.D.N.Y. Sept. 9, 2011) (noting the local rules

  relating to default provide more protection for non-appearing defendants than the


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  Federal Rules of Civil Procedure to promote fairness and efficiency), report and

  recommendation adopted, 2011 WL 4543838 (Sept. 29, 2011). Service of the motion for

  default judgment was deficient with respect to the Individual Defendants and Corporate

  Defendant Pacific Surgical.

        Local Rule 55.2(c) requires a motion for default judgment and supporting papers

  to be “mailed to the party against whom a default judgment is sought at the last known

  residence of such party (if an individual)[.]” Loc. Civ. R. 55.2(c). The Complaint and

  Summons were served on the Individual Defendants at their business addresses; the

  motion and supporting papers were mailed to Individual Defendants at those same

  business addresses. (Compare Mot. Service Aff., with Am. Compl. ¶¶ 100, 106, 121, 132,

  135-136, 142).12 That is impermissible under Local Rule 55.2(c). While service of the

  Complaint at a business address is sufficient for an individual defendant, when the

  plaintiff seeks default against that individual, the motion for default judgment must be

  served at the person’s last known residence. By using the business address to serve the

  motion, Allstate failed to comply with this requirement.

        Mailing the motion to the business addresses may explain why some of the

  mailed motion papers, three of which pertain to Individual Defendants, were returned

  as undeliverable. (See Declarations of Mailing, Dkt. Nos. 326-327, 329). In any event,



        12 Individual Defendants Shnaider and Zalogin were mailed the motion papers to
  the addresses where they were personally served with the Summons and Complaint.
  (See Mot. Service Aff.; Summonses Returned Executed, Dkt. Nos. 75, 78). These
  addresses are not, as far as the Court knows, the addresses of any Corporate
  Defendants; however, Allstate has provided no information on whether these were
  residential or business addresses. The Court has concluded, in the absence of any
  indication that Allstate understood Rule 55.2 as applied to individuals, that Shnaider
  and Zalogin were not served with the motion papers at their homes.



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  failure to comply with Local Rule 55.2 warrants denial of the motion for default

  judgment. See, e.g., Lin v. Quality Woods, Inc., No. 17-CV-3043, 2019 U.S. Dist. LEXIS

  14239, at *19-20 (E.D.N.Y. Jan. 28, 2019) (report and recommendation) (“As for the

  Individual Defendants, Local Rule 55.2(c) requires a motion for default judgment and

  supporting papers to be ‘mailed to the party against whom a default judgment is sought

  at the last known residence of such party (if an individual)[.]’ The motion was mailed to

  1340 Metropolitan Avenue, which is clearly a business address, not their residential

  address. . . . [F]ailure to comply with local rules warrants denial of the motion for

  default judgment.”) (citation omitted); Bhagwat, 2015 WL 13738456, at *1 (denying

  default judgment motion against individuals in part for “fail[ure] to include . . . proof of

  mailing that this motion was served upon defaultees’ last known mailing address”).

         As to the Corporate Defendants, Local Rule 55.2(c) requires a motion for default

  judgment and supporting papers to be “mailed to the party against whom a default

  judgment is sought . . . [at] the last known business address of such party (if a person

  other than an individual).” Loc. Civ. R. 55.2(c). Allstate generally complied with this

  rule, as the addresses for most Corporate Defendants match those alleged in the

  Amended Complaint and those listed on the Secretary of State’s website. (Compare

  Mot. Service Aff., with Am. Compl. ¶¶ 100, 106, 120-121, 133-139, 141-142, and Dep’t of

  State, Div. of Corps., State Records & UCC, Corp. & Bus. Entity Database Searches,

  https://www.dos.ny.gov/corps (last visited Feb. 21, 2019)).13 However, this is not the


         13“The Court can and does take judicial notice of information from the New York
  Secretary of State’s website.” See J & J Sports Prods., Inc. v. La Parranda Mexicana
  Bar & Restaurante Co., No. 17-CV-4171, 2018 WL 4378166, at *1 n.3 (E.D.N.Y. Apr. 09,
  2018) (citing Tate v. YRC Worldwide, Inc., No. 08-CV-7, 2008 WL 1138316, at *2
  (E.D.N.Y. Sept. 23, 2008)).



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  case for Defendant Pacific Surgical.14 Pacific Surgical was served with the motion papers

  at 1901 Avenue U, Brooklyn, NY 11229, (Mot. Service Aff.), but the Amended Complaint

  lists its principal place of business at 1811 Stillwell Avenue, Brooklyn, NY 11223, (Am.

  Compl. ¶ 113). The Secretary of State’s website has two corporations listed with similar

  names: Pacific Surgical Supply, Inc. and Pacific Surgical Supply New York Inc. See

  Dep’t of State, Div. of Corps., State Records & UCC, supra. The registered address for

  Pacific Surgical Supply, Inc. is 1901 Avenue U, Brooklyn, NY 11229, where the motion

  papers were mailed, and the registered address for Pacific Surgical Supply New York

  Inc. is 1811 Stillwell Avenue, Brooklyn, NY 11223, which the Amended Complaint lists as

  its principal place of business. Id. Although these corporations could be related, they

  have different associated individuals and they are both listed as “active” on the Secretary

  of State’s website; in fact, both were registered with the Secretary of State before this

  action began, making it unlikely that one corporation is the successor to the other.

  (Compare id. (indicating Pacific Surgical Supply, Inc. was registered on December 3,

  2007 and Pacific Surgical Supply New York Inc. was registered on April 17, 2013), with

  Compl. (commencing this action on March 25, 2016)).

         It is therefore unclear to the Court whether Pacific Surgical was served at its last

  known business address. This confusion alone warrants denial of the motion. See, e.g.,

  Augustin v. Apex Fin. Mgmt., No. 14-CV-182, 2015 WL 5657368, at *3 (E.D.N.Y. July



         14Defendant VZ Group was also served with the motion papers at an address
  other than the one in the Amended Complaint. (Compare Mot. Service Aff. (stating the
  motion papers were mailed to 2753 Harway Avenue, Brooklyn, NY 11214), with Am.
  Compl. ¶ 143 (stating the principal place of business is 1816 Gravesend Road, Brooklyn,
  NY 11232)). However, the Secretary of State’s website indicates that 2753 Harway
  Avenue is the current address for VZ Group. See Dep’t of State, Div. of Corps., State
  Records & UCC, supra.


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   27, 2015) (“[I]t is not clear that these documents were mailed to Apex at the last known

   business address of such party. Plaintiff’s failure to comply with Local Civil Rule 55.2

   alone warrants denial of the motion, without prejudice to renew with an affidavit

   demonstrating proper service.”) (quotations and citations omitted) (collecting cases),

   report and recommendation adopted, 2015 WL 7430008 (Nov. 23, 2015);

   Transatlantic Auto Grp., 2011 WL 4543877, at *19 (denying default judgment motion in

   part because, “compounding the due process concern of adequate notice, neither party

   has indicated whether their motions for default judgment were ever served upon [non-

   appearing corporate defendant]”). The Court respectfully recommends that, in any

   renewed motion for default judgment, Allstate be directed to clarify the last known

   business address of Pacific Surgical.

                                  *             *             *

          The complex nature of this case, given the number of Defendants and their

   relationships with each other, cautions against deciding the motion for default judgment

   as to some Defendants and not others. In other words, the Court should not decide the

   default judgment motion with respect to the few defaulting Defendants who were

   properly served with the motion papers. Should the Court decide the motion as to the

   defaulting Defendants who were properly served, the Court would have to decide

   damages twice, once now and again with any renewed motion. The need to conserve

   judicial resources counsels against such a result.

          There is also the possibility—however remote—that one or more of the defaulting

   Defendants will appear to contest the allegations against them once they are served

   properly with the motion papers. And if a Defendant were to contest default judgment

   and settle or resolve its claims, doing so would invalidate—or render inconsistent—any


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   damages calculation made now. That is because any remaining and defaulting

   Defendants are entitled to a set-off based on the amount recovered from appearing

   parties.15 See, e.g., Farberware, Inc. v. Groben, No. 89-CV-6240, 1991 WL 123964, at

   *6 (S.D.N.Y. July 3, 1991) (“[A]ssessment of [RICO] damages would be premature. If

   both parties were found liable, necessarily their liability would be joint and several since

   they are alleged to have acted together to bring about a single injury—the monetary loss

   to plaintiff from its overpayment to Globe. In these circumstances, the amount of

   damages that plaintiff could recover from Globe and Groben should not differ. Since

   Globe has not been held in default, the assessment of damages against Groben under

   RICO based on this alleged scheme should await the outcome of plaintiff’s claim against

   Globe, in order to avoid the entry of inconsistent damage awards.”). As a result, the

   Court should decide the default judgment as to all parties at the same time.

          Therefore, because 10 of the 25 defaulting Defendants were not served properly

   with the motion for default judgment, the motion should be denied in its entirety

   without prejudice to renewal.

                                         CONCLUSION

          For the reasons stated above, the Court respectfully recommends that the motion

   for default judgment be denied without prejudice and that, in any renewed motion,

   Allstate be directed to demonstrate that the service issues identified in this Report and



          15“In RICO cases, when a plaintiff settles with one defendant, the non-settling
   defendants are entitled to a credit of the settlement amount against any judgment
   obtained by the plaintiff against the non-settling defendants as long as both the
   settlement and judgment represent common damages. . . . The set-off is not an
   affirmative defense.” Allstate Ins. Co. v. Polack, No. 08-CV-565, 2012 WL 4489282, at
   *7 (E.D.N.Y. Sept. 12, 2012) (quotations omitted), report and recommendation
   adopted, 2012 WL 4490775 (Sept. 28, 2012).


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   Recommendation have been corrected and that none of its mailings have been returned

   as undeliverable. The Court also recommends that the default entered against the three

   settling Defendants be vacated. See supra, note 1.

          Any objections to the Report and Recommendation above must be filed with the

   Clerk of the Court within 14 days of service of this report. Failure to file objections

   within the specified time may waive the right to appeal any judgment or order entered

   by the District Court in reliance on this Report and Recommendation. See 28 U.S.C.

   § 636(b)(1); Fed. R. Civ. P. 72(b)(2); see also Caidor v. Onondaga Cty., 517 F.3d 601,

   604 (2d Cir. 2008) (“[F]ailure to object timely to a magistrate[ ] [judge’s] report

   operates as a waiver of any further judicial review of the magistrate[ ] [judge’s]

   decision.”) (quotations omitted).

          Allstate is directed to serve a copy of this Report and Recommendation on each

   defaulting Defendant and file proof of such service on the record.

                                                     SO ORDERED.

                                                     /s/ Sanket J. Bulsara February 21, 2019
                                                     SANKET J. BULSARA
                                                     United States Magistrate Judge
   Brooklyn, New York




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